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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------   x
                                                                       :
XL SPECIALTY INSURANCE COMPANY,                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  vs.                                                  :
                                                                       :
OTTO NAUMANN, LTD.,
                                                                       :
                                    Defendant and                      :
                                    Third-Party Plaintiff,             : Docket No. 12-CV-8224 (DAB)
                                                                       : (SN)
                   vs.                                                 :
                                                                       : NOTICE OF MOTION
JULIUS LOWY FRAME & RESTORING CO. INC.,                                :
                                                                       :
                                    Third-Party Defendant.             :
                                                                       :
                                                                       :
                                                                       :
---------------------------------------------------------------------- x


         PLEASE TAKE NOTICE that upon the annexed Memorandum of Law in Support of

Plaintiff XL Specialty Insurance Company’s Motion for Judgment on the Pleadings and Third-

Party Defendant Julius Lowy Frame & Restoring Co. Inc.’s Motion to Dismiss the Third-Party

Complaint with Prejudice, Plaintiff XL Specialty Insurance Company (“XL”) and Third-Party

Defendant Julius Lowy Frame & Restoring Co. Inc. (“Lowy”), by their undersigned counsel, will

move before the Honorable Deborah A. Batts, at the Daniel Patrick Moynihan United States

Court House, 500 Pearl Street, New York, New York 10007, on such a date as the Court will

determine, for an order, pursuant to Rules 12(c) and 12(b)(6) of the Federal Rules of Civil

Procedure, granting judgment on the pleadings on Counts One, Two, and Three of XL’s

Complaint and dismissing, with prejudice, the amended third-party complaint against Lowy in

the above-captioned action, and for such other relief as the Court may grant.
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       PLEASE TAKE FURTHER NOTICE that opposing papers, if any, must be served and

filed by June 23, 2014. Reply papers, if any, must be served and filed by June 30, 2014.

       PLEASE TAKE FURTHER NOTICE that oral argument is respectfully requested on the

motion.

Dated: New York, New York
       June 9, 2014

                                                CLYDE & CO US LLP



                                                By: /s Owen B. Carragher, Jr.
                                                   Owen B. Carragher, Jr.

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                                                    Attorneys for Plaintiff XL Specialty
                                                    Insurance Company and Third-Party
                                                    Defendant Julius Lowy Frame & Restoring
                                                    Co. Inc.

TO:    Clerk, Southern District of New York
       Daniel Patrick Moynihan
       United States Courthouse
       500 Pearl Street
       New York, NY 10007-1312

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